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 EXHIBIT 16
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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC,

           Plaintiff,

           v.

PRESIDENT AND FELLOWS OF                           Civil Action No. 1:14-cv-14176-ADB
HARVARD COLLEGE (HARVARD
CORPORATION),                                      Leave to file granted on July 31, 2018

           Defendant.




                       DECLARATION OF RASHID YASIN
                   (HARVARD UNIVERSITY MUSLIM ALUMNI)

   Rashid Yasin, pursuant to 28 U.S.C. Section 1746, declares the following:

          1.      My name is Rashid Yasin, and I am a 2012 graduate of Harvard College. I

   am currently President of the Harvard University Muslim Alumni (“HUMA”) and am

   submitting this declaration individually and on behalf of HUMA.

          2.      HUMA’s board members have discussed this lawsuit and decided to

   participate as amicus curiae in support of Harvard’s race-conscious admissions policy.

   HUMA’s board members also authorized me to submit this declaration on behalf of the

   entire organization.

          3.      HUMA was founded in 2004 with the mission of connecting Harvard

   Muslim alumni and faculty and supporting Islam and Muslim students at Harvard and in

   the surrounding community. HUMA works to accomplish this mission through four

   pillars: (1) supporting Muslim students at Harvard by providing programming and services
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and acting as an advocate on their behalf, (2) hosting alumni networking opportunities, (3)

increasing resources on campus for the dissemination of knowledge about Islam (including

spiritual, academic, and social issues), and (4) increasing access to Harvard for Muslim

students through pipeline initiatives. HUMA has a close relationship with the Harvard

Islamic Society, an undergraduate group whose members often join HUMA upon

graduation.

       4.      Muslims are a multiracial community that is majority minority. Similar

proportions of American Muslims are Black, Arab, or South Asian, and the community has

members from many other racial and ethnic backgrounds. Data suggest that the fastest

growing group within the American Muslim community is the Latino Muslim community.

This multifaceted identity means that religion and race are deeply intertwined for many

Muslims, especially American Muslims, and we take keen interest in issues that affect

communities of color.

       5.      HUMA strongly supports preserving race-conscious admissions at Harvard.

Only holistic admissions can take into account the unique, intersectional lived experiences

of Muslim applicants, who are often also underrepresented minorities. In addition, based

on the values that Islam instills, HUMA feels a moral obligation to fight injustice, including

by supporting race-conscious admissions, which, in a small way, help address past and

present inequities. Islamic values teach that one does not have to be the best test-taker or

a valedictorian to be a leader. Likewise, Harvard’s view of excellence is not limited to

narrow academic achievements, but also values personal growth, community engagement,

and altruism, qualities that HUMA supports.         We condemn any bias against Asian

American applicants that may exist in the admissions process, but the solution is to address



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these biases head on, not to erase all applicants’ identities by eliminating race

consciousness.

        6.       Diversity on Harvard’s campus is crucial to Muslim students’ experiences.

Although Muslim students are a small community on campus, the presence of students

from other diverse backgrounds helps the environment seem more welcoming to Muslims

and facilitates cross-cultural understanding that benefits all students. As the translation of

the Quran says, “We have . . . made you nations and tribes that ye may know one another.”

Quran 49:13. Coming from a diverse community, we understand the strength inherent in

communities that have different backgrounds, experiences, perspectives, and identities and

support Harvard’s commitment to such diversity.

        7.       HUMA members fondly remember the cross-cultural opportunities

available at Harvard that were possible only due to the diversity of its students. Lively

iftaars (dinners during the month of Ramadan) with La Raza, BSA, and the Harvard

African Students Association, alongside other campus groups, were beloved annual

traditions.   And the Harvard Islamic Society also coordinated “Know Your Rights”

presentations geared toward Black and Muslim communities and collaborated with the

fraternity Sigma Chi to coordinate volunteer work at a local homeless shelter. Muslim

students also hosted dinners and events open to all students to showcase Muslim food and

culture.

        8.       As Muslims, we also know the threat posed by misunderstanding that is

fostered when people have limited exposure to those who are different from them. We are

familiar with the recent rise in hate crimes and open hostility against Muslims. Muslims

students at Harvard often face misunderstanding, exclusion, microaggressions, and at



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times, hostility based on their religion. We often assume the burden—willingly or not—

of educating our fellow students about Muslim religion and culture. And we sometimes

bear the brunt of outrage sown by political controversy. For example, a member of HUMA

recounted a terrifying experience from the early 2000s of being chased down the street as

a student because she was wearing a headscarf. In 2006, following the lead of the French

newspaper Charlie Hebdo, the Harvard Salient (a student newspaper) published a set of

cartoons with inflammatory depictions of the Prophet Muhammad, deeply offending many

Muslim students.

       9.      Furthermore, the Harvard administration is not always responsive to

Muslim student needs. In 2008, Muslim female students, along with the Harvard College

Women’s Center, requested a period of female-only gym hours, which Harvard

implemented for six hours a week at one of the smaller, non-centrally located gyms on

campus. Harvard backtracked, however, and discontinued the practice after media scrutiny

and criticism by other Harvard students.

       10.     In 2010, Harvard honored Marty Peretz, the former editor-in-chief of the

New Republic, at a celebration of the 50th anniversary of the social studies department and

also established a fund in his name. Peretz has a history of racist comments against

Muslims, Latinos, Arabs, and African Americans, and once wrote “Muslim life is cheap.

. . . I wonder whether I need honor these people and pretend they are worthy of the

privileges of the First Amendment, which I have in my gut the sense that they will abuse.”

Although multiple student affinity groups representing Muslim, Latino, Arab, and Black

students denounced the decision, Harvard went ahead with the ceremony and has kept the

fund in his name.



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             11.     Particularly in the current political climate, HUMA is deeply concerned for

      the future of Muslim students and the entire Harvard student community should race-

      conscious admissions come to an end. There would likely be fewer Muslim students, since

      many are from underrepresented minority backgrounds, and the complex identities of

      Muslims would be erased in the application process. This result could undercut HUMA

      efforts to increase access for Muslim students and diminish the experience of students on

      campus. HUMA alumni recall their Harvard experience as thrilling and illuminating, but

      at times isolating. Many relied on fellow Muslim students for support, while also relishing

      engaging with students (including fellow Muslims) from other backgrounds. A Harvard

      with fewer Muslims and less vibrant diversity would not be Harvard at all.



      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

      Executed on this day, July 27, 2018

                                                            /s/Rashid Yasin

                                                             Rashid Yasin




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